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UNITED STATES DISTRICT CouRT  fflED NOV & 2 2009

MIDDLE DISTRICT OF LOUISIANA - - CLERK an

CLAUDE FRAZIER AND ALL OTHER SUIT NUMBER: 05-1338- -JJB- -scRY
SIMILARLY SITUATED PERSONS

 

 

VERSUS SECTION/DIVISION:
PIONEER AMERICAS, LLC and
STATE OF LOUISIANA THROUGH THE
DEPARTMENT OF ENVIRONMENTAL
QUALITY (DEQ)
AMENDING AND SUPPLEMENTAL PETITION/COMPLAINT

NOW INTO COURT, through undersigned counsel, come the following plaintiffs who
wish to assert claims individually and on behalf of others similarly situated into the above captioned
matter:

1.

The following plaintiffs are to be added in this suit:

Pauline Adams, a resident of the full legal age of majority of the Parish of Iberville,
State of Louisiana.

Rosetta Andrews, a resident of the full legal age of majority of the Parish of
Iberville, State of Louisiana.

Connie Batiste, a resident of the full legal age of majority of the Parish of Iberville,
State of Louisiana. =

Angela Braud, a resident of the full legal age of majority of the Parish of Iberville,
State of Louisiana.

Debbie Brown, a resident of the full legal age of majority of the Parish of Iberville,
State of Louisiana.

Cheryl] Butler individually and on behalf of her minor child Jeron Butler, a
resident of the full legal age of majority of the Parish of Iberville, State of Louisiana.

Lestly Collins, a resident of the full legal age of majority of the Parish of East Baton
Rouge, State of Louisiana.

 
Boyd Craft, a resident of the full legal age of majority of the Parish of Iberville, State
of Louisiana.

Idell Frazier, a resident of the full legal age of majority of the Parish of Iberville,
State of Louisiana.

Tiffany Gustave individually and on behalf of her minor children Amelia
Gustave, Jeremy Gustave, Ryneisha Jackson, and Audia Jackson, a resident of
the full legal age of majority of the Parish of Iberville, State of Louisiana.

Jade Oubte individually and on behalf of her minor children Kameryn Oubre,
K’Edrick Oubre, Kirstein Oubre, a resident of the full legal age of majority of the

Parish of Iberville, State of Louisiana.

Vernon Kelly, a resident of the full legal age of majority of the Parish of Iberville,
State of Louisiana

Larry Phillips, Jr., a resident of the full legal age of majority of the Parish of
Iberville, State of Louisiana.

Edward Porter, a resident of the full legal age of majority of the Parish of Iberville,
State of Louisiana.

Tim Spillman, a resident of the full legal age of majority of the Parish of Iberville,
State of Louisiana.

Amelia Walls, a resident of the full legal age of majority of the Parish of Iberville,
State of Louisiana.

Stacy Wilson, a resident of the full legal age of majority of the Parish of Iberville,

State of Louisiana.

2.

The additional plaintiffs assert that they ate part of the class of persons who or which were
present in the effected vicinity of Pioneer Americas, LLC, 4205 Highway 75 located in St. Gabriel,
Louisiana, before and after, October 13, 2004, when an extremely toxic, noxious and hazardous
substance was released and/or leaked from Pioneer Americas, LLC.

3.
The claims of the above proposed class representatives are typical of a cross section of the

class and of claims they seek to represent.
4.
All allegations and claims asserted in the original Class Action Petition for Damages are
reiterated and adopted by the above plaintiffs individually and on behalf of others similarly situated.
5,
Plaintiffs’ counsel hereby certifies that she has spoken with Bradley Myers, counsel for

Pioneer America, and he has agreed to accept service on behalf of Pioneer Ametica.

RESPECTFULLY SUBMITTED:

TYLER & POSSA
A Professional Law Corporation

By: QW. L- le ee

Joseph C. Possa

Louisiana Bar Roll #21032
Stephanie M. Possa

Louisiana Bar Roll #28725
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the above and foregoing pleading has been served
upon all counsel of record by hand, by facsimile, or by placing a copy in the United States mail,
postage prepaid, and properly addressed to:

Mr. Bradley Myers

Kean, Miller, Hawthorne, D'Armond, McCowan & Jarman, L.L.P.
Post Office Box 3513

Baton Rouge LA 70821

Baton Rouge, Louisiana, this 29" day of November, 2005.

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Stephanie M. Possa
